a

LEXSEE 2006 U.S. DIST. LEXIS 24895
ANDREA WILLIS, Plaintiff, v. MIKE NEAL, et al., Defendants.
Case No. 1:04-cv-305

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
TENNESSEE

2006 U.S. Dist. LEXIS 24895
April 24, 2006, Decided

PRIOR HISTORY: Willis v. Neal, 2006 in causes of action under Tennessee
U.S. Dist. LEXIS 8446 (E.D. Tenn., state law. Because the court had

Feb. 1, 2006) already held that the sheriff was
entitled to qualified immunity as to
CASE SUMMARY: the § 1983 claim, he also was entitled

to qualified immunity with regard to
the state law false arrest claim.
PROCEDURAL POSTURE: Plaintiff brought

a 42 U.S.C.S. § 1983 action against OUTCOME : The court granted the
defendants, a sheriff and others, sheriff's motion for reconsideration.
alleging violations of plaintiff's The court vacated its prior order and
Fourth Amendment rights and various granted in full defendants' summary
state law claims, including false judgment motions. The court dismissed
arrest. The court granted summary with prejudice plaintiff's federal and
judgment in favor of defendants on all state law claims.

claims except for a state law false
arrest claim against the sheriff. The LexisNexis (R) Headnotes

sheriff filed a motion for
reconsideration under Fed. R. Civ. P.
54(b).

the Civil Procedure > Judgments > Entry of
Judgments > Multiple Claims & Parties

[HN1] Pursuant to Fed. R. Civ. P,
54(b), an order that adjudicates fewer
than all the claims or the rights and
liabilities of fewer than all the
parties is subject to revision at any
time before the entry of judgment

OVERVIEW: In its prior order,
court held that the sheriff was
entitled to qualified immunity with
regard to plaintiff's § 1983 claim.
However, the court did not address
qualified immunity in the context of
plaintiff's state law claims. In his

motion for reconsideration, the

sheriff argued that he was entitled to @djudicating all the claims and the

rely on the defense of qualified rights and liabilities of all the

rely on the defens of qualified

immunity. The court held that its parties. In other words, until a
district court enters a judgment, it

failure to consider the defense of
qualified immunity with regard to the
false arrest claim was in error. The
court noted that the Court of Appeals
of Tennessee had made clear that the
same defense of qualified immunity
that was available to police cfficers
in § 1983 actions also was available

may alter or amend any of its orders.

Civil Procedure > Summary Judgment >
Evidence

Civil Procedure > Summary Judgment >
Standards > General Overview

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(HN2} Summary judgment is proper where
the pleadings, depositions, answers to
interrogatories, and admissions on
file, together with the affidavits, if
any, show that there is no genuine
issue as to any material fact and that
the moving party is entitled to
judgment as a matter of law. Fed. R.
Civ. P. 56(c). In ruling on a motion
for summary judgment, a court must
view the facts contained in the record
and all inferences that can be drawn
from those facts in the light most
favorable to the nonmoving party. The
court cannot weigh the evidence, judge
the credibility of witnesses, or
determine the truth of any matter in
dispute.

Civil Procedure > Summary Judgment >
Burdens of Production & Proof >
General Overview

Civil Procedure > Summary Judgment >
Standards > Appropriateness

[HN3] A party moving for summary
judgment bears the initial burden of
demonstrating that no genuine issue of
material facts exists. To refute such
a showing, the nonmoving party must
present some significant, probative
evidence indicating the necessity of a
trial for resolving a material factual

dispute. A mere scintilla of evidence
is not enough. A court's role is
limited to determining whether the

case contains sufficient evidence from
which a jury could reasonably find for
the nonmoving party. If the nonmoving
party fails to make ae sufficient
showing on an essential element of its
case with respect to which it has the
burden of proof, the moving party is
entitled to summary Judgment. If the
court concludes that a fair-minded
jury could not return a verdict in
favor of the nonmoving party based on
the evidence presented, it may enter a
summary judgment.

Civil Rights Law >
Liability > Local
Individual Capacity
{HN4} The Court of

Immunity From
Officials >

Appeals G

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LEXIS 24695, *

Tennessee has made clear that the same
defense of qualified immunity that is
available to police officers in causes
of action under 42 U.S.C.S. $ 1983 is
action

also available in causes of

under Tennessee state law. The
analysis of qualified immunity under §
1983 and Tennessee state law is
coextensive.

COUNSEL: [*1] For Andrea Willis,
Plaintiff: John C Cavett, Jr, Cavett &
Abbott, Chattanooga, TN.

For Mike Neal, individually and as
Sheriff of Rhea County, Tennessee,
John Argo, individually and as a
member of the Rhea County Sheriffs
Department, Defendant: Jeffrey M
Atherton, Chattanooga, TN.

individually and
County,
County,
Thomas EB

Rudstrom,

For Ronnie Hitchcock,
as Sheriff of Sequatchie
Tennessee, Sequatchie
Tennessee, Defendant:
LeQuire, Spicer, Flynn 6
PLLC, Chattanooga, TN.

Clint Huth,

Police Chief of
City of Dunlap, TN,
Archer, Robinson,
Chattanooga, TN.

individually and as
Dunlap, Tennessee,
Defendant: Stacy L

Smith & Wells,

For

For James Ollie McMillon, individually
and as member of and agent for Rhea
County TN, member of Dunlap City
Police Force & Sequatcie Co., TN
Sheriff's Dept. also known as James
Ollie McMillian also known as James
Ollie McMillion, Jr., Defendant: Don W
Poole, Poole, Thornbury & Morgan,
Chattanooga, TN.

Defendant:
TN.

Rhea TN,

Chattanoo

1 MN, LMaALTANOO a;

For County,

For Chattanooga Choo-Choo Company, as
Plan Administrator of the Chattanooga

Choo Choo Short Term and Long Term
Disability Plans, Defendant: John M
Scannapieco.

JUDGES: HARRY [*2] S. MATTICE, JR.,
UNITED STATES DISTRICT JUDGE.

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OPINION BY: HARRY S. MATTICE, OR.
OPINION:

MEMORANDUM OPINION

Before the Court is Defendant
Ronnie Hitchcock's Motion for
Reconsideration, in which Defendant
asks the Court to reconsider its
denial of summary judgment to
Defendant with regard to Plaintiff's

state law claim of false arrest.

For the reasons stated below, the
Court GRANTS Defendant's Motion for
Reconsideration.

I. STANDARDS OF REVIEW
A. Reconsideration

[HN1] Pursuant to Federal Rule of
Civil Procedure 54(b), an order that
"adjudicates fewer than all the claims
or the rights and liabilities of fewer
than all the parties is subject to
revision at any time before the entry
of judgment adjudicating all the
claims and the rights and liabilities
of all the parties." In other words,
"until a district court enters a
judgment, it may alter or amend any of
its orders." Jaynes v. Austin, 20 Fed.
Appx. 421, 425, 2001 WL 1176424, at *3
(6th Cir. 2001).

B. Summary Judgment

[HN2]
where

is proper
depositions,

Summary judgment
"the pleadings,
answers to interrogatories, and
admissions on file, together [*3]
with the affidavits, if any, show that
there is no genuine issue as to any
material fact and that the moving
party entitled to judgment as a
matter of law." Fed. R. Civ. P. 56(c).
In ruling on a motion for summary
judgment, the Court view the

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must
facts contained in the record and all
inferences that be drawn from
those facts the Light most
favorable to nonmoving party.
Matsushita Elec. Indus. Co. v. Zenith
Radic Corp., 475 U.S. 574, 5&7, 106 S.

can

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Ct. 1348, 89 L. Ed. 2a 538 (1986);
National Satellite Sports, Inc. v.
Eliadis Inc., 253 F.3d 900, 907 (6th
Cir. 2001). The Court cannot weigh the
evidence, judge the credibility of
witnesses, or determine the truth of
any matter ain dispute. Anderson v.
Liberty Lobby, Inc., 477 U.S. 242,
249, 106 S. Ct. 2505, 91 L. Ed. 2a 202
(1986).

[HN3] The moving party bears the
initial burden of demonstrating that
no genuine issue of material facts
exists. Celotex Corp. v. Catrett, 477
U.S. 317, 323, 106 S. Ct. 2548, 91 2.
Ed. 2d 265 (1986). To refute such a
showing, the mnonmoving party must
present some significant, probative

evidence indicating the necessity of a
trial for resolving a material factual

dispute. Id. at 322. [*4] A mere
scintilla of evidence is not enough.
Anderson, 477 U.S. at 252; McLean v.
Ontario, Ltd., 224 F.3d 797, 800 (6th
Cir. 2000). The Court's role is
limited to determining whether the

case contains sufficient evidence from
which a jury could reasonably find for

the mnonmoving party. Anderson, 477
U.S. at 248-49; National Satellite
Sports, 253 F.3d at 907. If the
nonmoving party fails to make a
sufficient showing on an_ essential
element of its case with respect to
which it has the burden of proof, the
moving party is entitled to summary
judgment. Celotex, 477 U.S. at 323. If

the Court concludes that a fair-minded
jury could not return a verdict in
favor of the nonmoving party based on
the evidence presented, it may enter a
summary judgment. Anderson, 477 U.S.
at 251-52; Lansing Dairy, Inc. v.
Espy, 39 F.3d 1339, 1347 (6th Cir.
1994).

II. PROCEDURAL AND FACTUAL BACKGROUND
Plaintiff Andrea
this action against Defendant Ronnie
Hitchcock and others, alleging claims
for violation of ner Fourth Amendment

Wiliis brought

rignts under the United States
Constitution [*5] pursuant to 42
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State
false

various
including

U.S.C.
law causes of
arrest. All of the Defendants filed
motions for summary judgment. By way
of an Order and Memorandum entered on
February 1, 2006 [Court Doc. Nos. 55,
56], the Court granted the summary
judgment motions filed by the other
Defendants and granted in part and
denied in part the summary judgment
motion filed by Defendant Ronnie
Hitchcock. The Court's Order left one
claim pending: Plaintiff's state law
false arrest claim against Hitchcock
in his individual capacity. On March
28, 2006, Defendant Hitchcock filed a
motion for reconsideration [Court Doc.
No. 60], asking the Court to
reconsider its denial of summary
judgment as to that one claim.

§ 1983 and for
action,

this case are set
forth in the Court's previous
Memorandum [Court Doc. No. 55], and

the Court will not repeat them here.

The facts of

III. ANALYSIS

In his answer to the complaint, his
motion for summary judgment, and his
motion for reconsideration, Defendant

Hitchcock asserted that he is entitled

to rely on the defense of qualified
immunity. (Court Doc. No. 13, Ans. PP
XI, XII; Court Doc. No. 33, Br. in
Supp. of Mot. for [*6] Summ. J. 4-5;
Court Doc. No. 60, Mot. for Recons.
5.) The Court ruled in its previous
Order and Memorandum that Hitchcock
was entitled to qualified immunity

with regard to Plaintiff's claim under
42 U.S.C. § 1983, but the Court did
not address qualified immunity in the
context of Plaintiff's state law
claims. The Court now believes that
its failure to consider the defense of

qualified immunity with regard to
Plaintiff's state law false arrest
claim was in error.

In Youngblood v. Clepper, [HN4] the
Court of Appeals of Tennessee made
clear that the same defense of
qualified immunity that is available

to police officers in causes of action

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1983 is also available in
causes of action under Tennessee state
law. 856 S.W.2d 405, 407-08 (Tenn. Ct.
App. 1993). The analysis of qualified
immunity under § 1983 and Tennessee
state law is coextensive. See id.

under §

As noted above, the Court has
already held in its previous Order and
Memorandum that Defendant Hitchcock is

entitled to qualified immunity with
regard to Plaintiff's $ 1983 claim.
Because the analysis of qualified
immunity is identical under both §
1983 and Tennessee state law,
Defendant Hitchcock [*7] is also
entitled to qualified immunity with

regard to Plaintiff's state law false
arrest claim. This result is dictated
by the same analysis and for the same

reasons stated in the Court's prior
Memorandum in Part III.A.2 [Court Doc.
Nos. 55]. The Court will not repeat
the analysis here.
Iv. CONCLUSION

As explained above, and in

accordance with the Memorandum entered
on February 1, 2006 [Court Doc. No.

55], it is ORDERED:

(1) Defendant Hitchcock's Motion
for Reconsideration [Court Doc. No.
60] is GRANTED;

(2) The Court's Order entered on
February 1, 2006 [Court Doc. No. 56]
is VACATED;

(3) The following motions by the
Defendants are GRANTED IN FULL: the
motion for summary judgment by the
City of Dunlap and Clint Huth [Court
Doc. No. 24]; the motion for summary
judgment by Mike Neal, John Argo, and
Rhea County [Court Doc. No. 27]; the

motion for summary judgment by James

McMillon [Court Doc. No. 41]; and the
motion for summary judgment by
Seguatchie County and Ronnie Hitchcock
[Court Doc. No. 32);
(4) Plaintiffs claims under 42
U.S.C. § 1983 for vicliation of her
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Fourth Amendment rights and under
Tennessee [*8] state law for the
torts of false arrest, maiicious
harassment, assault and battery,
slander and libel, intentional and
negligent infliction of emotional
distress, malicious prosecution, abuse
of process, and outrageous conduct
against Defendants City of Dunlap,
Tennessee; Clint Huth; Mike Neal; John
Argo; Rhea County, Tennessee; James
McMillon; Segquatchie County,
Tennessee; and Ronnie Hitchcock, in
all capacities, are DISMISSED WITH
PREJUDICE ;

LEXIS 24895, *7

(5) In accordance with Federal Rule
of Civil Procedure
Defendants are entitied to recover

their cests of this action.

Tne Clerk is directed to

file in this case.

SO ORDERED this 24th day

2006.

HARRY S. MATTICE, JR.

UNITED STATES DISTRICT JUDGE

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of April,
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2 of 2 DOCUMENTS

Positive

As of: May 23, 2007

JOE LANE; STATE OF TENNESSEE on relation of Joe Lane,

Plaintiffs, v. DREW MARTIN;

TIMOTHY HUTCHISON; KNOX COUNTY,

TENNESSEE; and HARTFORD INSURANCE COMPANY, Defendants. and
JOE LANE; STATE OF TENNESSEE on relation of Joe Lane,
Plaintiffs, v. DREW MARTIN; TIMOTHY HUTCHISON; KNOX COUNTY,
TENNESSEE; and HARTFORD INSURANCE COMPANY. Defendants.

No.3:04-CV-560,

No. 3:04-CV-590

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
TENNESSEE, KNOXVILLE DIVISION

2005 U.S. Dist. LEXIS 31969

July 8, 2005,
2005, Filed

July 8,

CASE SUMMARY:

PROCEDURAL POSTURE: Plaintiff detainee
brought an action, pursuant to 42
U.S.C.S. § 1983, against defendants,
the sheriff, the deputy, the county,
and the insurer, for alleged violation

of the detainee's constitutional
rights. He also asserted in the
complaint several state law claims.

The sheriff filed a motion for summary
judgment in his individual capacity.

OVERVIEW: The detainee alleged that
the deputy verbally abused and
physically assaulted the detainee at a
traffic stop before the detainee was
transported to the county's detention
facility. According to the detainee,
he was denied medical care and access
to his heart medication while at the
detention facility. The detainee
claimed that he was detained for an
unreasonable length of time until he
was released on bond. He also claimed
that the sheriff failed to properly

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Decided

supervise his deputies. The court
found that the three hours that the
detainee was held before he was
allowed to make a phone call and the
seven hours that he was held before he
was released were both not an
unreasonable period of time under the
Fourth Amendment. Further, Tenn. Code
Ann, § 8-8-301 did not create
liability under a private cause of
action because of the official bond
that the sheriff obtained under Tenn.
Code Ann. § 8-8-103. Furthermore, the
sheriff could not be held liable under
42 U.S.C.S. § 1983 based on the
doctrine of respondeat superior.
Finally, the detainee failed to
demonstrate that the sheriff in his
individual Capacity committed a
constitutional violation or violated a
clearly established right.

motion for
and the
capacity,

OUTCOME : The sheriff's
summary judgment was granted,
sheriff, in his individual
was dismissed from the case.

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COUNSEL: [*1] For Joe Lane State of
Tennessee on relation of Joe Lane,
Plaintiff: Herbert S Moncier, Law
Office of Herbert Ss. Moncier,
Knoxville, TN.

For Drew Martin, Defendant: Robert H
Watson, Jr, Watson, Roach, Batson,
Rowell & Lauderback, P.L.C.,
Knoxville, TN.

For Knox County, TN, Defendant: John E

Owings, Office of Knox County Law
Director, Knoxville, TN.

JUDGES: JORDAN/SHIRLEY,
PHILLIPS/SHIRLEY.

OPINION BY: Leon Jordan

OPINION:
MEMORANDUM OPINION

This civil action is before the
court for consideration of "Motion for
Summary Judgment of Defendant Timothy
Hutchison in His Individual Capacity"
[doc. 11]. Plaintiff has not filed a
response to the motion. Oral argument
is not necessary, and the motion is

ripe for the court's consideration.
For the reasons stated herein, the
motion for summary judgment will be
granted, and defendant Timothy
Hutchison in his individual capacity
("Sheriff Hutchison''! or " the
Sheriff") will be dismissed from this
case.

Plaintiff has brought this action
pursuant to 42 U.S.C. § 1983 for
alleged violation of his
constitutional rights. He also asserts
in the complaint several state law
claims

I.

Factual Background

The incident [*2] that is the
basis for this lawsuit occurred on
November 29, 2003. nl According to the
plaintiff, he mistakenly was traveling

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in the wrong direction on an exit
ramp. Upon realizing his mistake,
plaintiff turned around and was
exiting on the exit ramp when he was
stopped by defendant Drew Martin
("Deputy Martin"), a deputy with the
Knox County Sheriff's Department.

Plaintiff alleges that Deputy Martin
was verbally abusive to him and when
plaintiff asked for his name and badge
number, Deputy Martin became enraged
and threw plaintiff into his vehicle
and to the ground. Plaintiff alleges

that he was beaten and as a result
suffered rib and shoulder injuries.
Plaintiff was transported to the Knox
County Detention Facility and was

eventually released on bond. According

to plaintiff, he was denied medical

care and access to his heart

medication while at the Detention
Facility.

nl The facts that follow are

taken from the complaint. The

only evidence before the court is

Sheriff Hutchison's unopposed
affidavit.

The material [*3] allegations

pertaining to Sheriff Hutchison are

set out in the following paragraphs:

6. Defendant TIMOTHY
HUTCHISON is the Sheriff of
Knox County, Tennessee and

is sued both in his official
capacity and is also sued in
his individual capacity for
failure and neglect to
perform duties imposed upon
him as Sheriff of Knox
County, Tennessee and as
principal on his official
bond.

held in
Detention
excess of

25. Plaintiff was
the Knox County

Facility for in

three (3) hours prior to
being allowed a telephone
call pursuant to the customs
and policies of Defendant

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KNOX COUNTY and HUTCHISON.

26. Plaintiff was held in
the Knox County Detention
Facility for an unreasonable
period of approximately
seven (7) hours pursuant to
the customs and policies of
Defendant KNOX COUNTY and
HUTCHISON.

93. Defendant Hutchison is
required to perform duties
as Sheriff for Knox County
by Tennessee law and Knox
County law.

94. Defendant HUTCHISON
failed and neglected to
perform the duties required
of him to train, supervise
and discipline his officers
in his conduct while
exercising his authority
while working for private
persons; n2 by failing to
train and supervise his
officers [*4] on the lawful
use of force in making
arrest for misdemeanors; by
failing to train and
supervise his officers on
the use of post misdemeanor
citations; and by being
deliberately indifferent to
the use of excessive force
by his officers.

96. Plaintiff sues Defendant
HUTCHISON for the breach of
his duty as sheriff of Knox

County, Tennessee.

102. Plaintiff brings this
action on relation of the
STATE OF TENNESSEE and sues
Defendant HUTCHISON and
MARTIN individually under
his official bonds as

beneficiaries of said bonds
as provided for in T.C.A. §
8-8-301 n3 for failures and

neglect of his duties
required of him as sheriff
as specified in this

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complaint.

N2 It is unclear to the court
how the italicized allegation has
any relevance in this case.

n3 This section of Tennessee
Code Annotated does not exist.
The court concludes that
plaintiff must be referring to

Tennessee Code Annotated section
8-8-103 or section 8-8-301.

IT.
Summary Judgment Standard

Pursuant to [*5] Federal Rule of
Civil Procedure 56(c), summary
judgment is appropriate when "the
pleadings, depositions, answers to
interrogatories, and admissions on
file, together with the affidavits, if
any, show that there is no genuine
issue as to any material fact and that
the moving party is entitled to
judgment as a matter of law." Canderm
Pharmacal, Ltd. Vv. Blder
Pharmaceuticals, Inc., 862 F.2d 597,
601 (6th Cir. 1988) (quoting Fed. R.
Civ. P. 56(c)). The moving party may
discharge its burden by demonstrating
that the non-moving party has failed
to establish an essential element of
that party's case for which he or she
bears the ultimate burden of proof at

trial. Celotex Corp. v. Catrett, 477
U.S. 317, 322, 106 S. Ct. 2548, 2552,
91 L. Ed. 2d 265 (1986). The moving

party need not support its motion with
affidavits or other materials negating

the opponent's claim. Celotex Corp.,
477 U.S. at 323, 106 S. Ct. at 2553.
Although the moving party has the
initial burden, that burden may be
discharged by a "showing" to the
district court that there is an
absence of evidence [*6] in support
of the non-moving party's case.
Celotex Corp., 477 U.S. at 325, 106 §.
Ct. at 2554.

After the moving party has carried

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its initial burden of showing that
there are no genuine issues of

material fact in dispute, the burden

shifts to the non-moving party to
present specific facts demonstrating
that there is a genuine issue for
trial. Matsushita Elec. Indus. Co.,
Ltd., v. Zenith Radio Corp., 475 U.S.
574, 587, 106 S. Ct. 1348, 1356, 89 L.
Ed. 2d 538 (1986). "The ‘mere
possibility' of a factual dispute is
not enough." Mitchell Vv. Toledo
Hospital, 964 F.2d 577, 582 (6th Cir.
1992) (citing Gregg v. Allen-Bradley
Co., 801 F.2d 859, 863 (6th Cir.
1986)). In order to defeat the motion
for summary judgment, the non-moving

party must present probative evidence
that supports the complaint. Anderson
v. Liberty Lobby, Inc., 477 U.S. 242,
249-50, 106 S. Ct. 2505, 2510-11, 91
L. Ed. 2d 202 (1986). The non-moving
party's evidence is to be believed,
and all justifiable inferences are to
be drawn in that party's favor.
Liberty Lobby, 477 U.S. at 255, 106 S.
Ct. at 2513. The court determines [*7]
whether the evidence requires
submission to a jury or whether one
party must prevail as a matter of law

because the issue is so one-sided.
Liberty Lobby, 477 U.S. at 251-52, 106
S. Ct. at 2512.

TII.

Analysis

The court begins by addressing

plaintiff's allegations in paragraphs
25 and 26 that the seven hours he was
detained before his release and the
three hours he was held before he was
allowed to make a telephone call were
unreasonable and in accordance with
customs and policies of Sheriff
Hutchison. The Constitution does not
require that a detained person must be
given a telephone call or that such a
call must be permitted within a
specified period of time. Even if
there were such a requirement, three
hours would not be an unreasonable
length of time.

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The seven hours plaintiff was held
in the Detention Facility also was not

an unreasonable period of time. In
Gerstein v. Pugh, 420 U.S. 103, 95
S.Ct. 854, 43 L. Ed. 2d 54 (1975), the
Supreme Court recognized that "the
Fourth Amendment requires a judicial

determination of probable cause as a
prerequisite to extended restraint of
liberty following arrest." Id. at 114,
95 §.Ct. at 863. [*8] The question of
how soon such a determination must be
made was addressed by the Supreme
Court in County of Riverside v.
McLaughlin, 500 U.S. 44, 111 S. Ct.
1661, 114 L. Ed. 2d 49 (1991). In
County of Riverside, the Supreme Court
held that "judicial determinations of
probable cause within 48 hours of
arrest will, as a general matter,
comply with the promptness requirement

of Gerstein." Id. at 56, 111 S. Ct. at
1670. The seven hours plaintiff was
detained do not come close to
reaching, let alone exceeding, the
48-hour rule set forth in County of
Riverside.

The allegations in paragraphs 25
and 26 do not state a claim against
Sheriff Hutchison for violation of

plaintiff's constitutional rights.

The court next considers
plaintiff's allegations concerning the
Sheriff's official bond. In his
motion, Sheriff Hutchison moves for
summary judgment on this claim that is
set out in paragraph 102 of the
complaint. However, the Sheriff does
not address this claim in his
supporting memorandum, so he has

failed to provide the court with any

legal argument or authority. In any
event, the court has ruled on this
issue before.

Plaintiff contends that Sheriff
[*9] Hutchison should be liable to

him because of his failure to perform
the duties he swore to carry out when
he took his oath to secure an official
bond as required by Tennessee statute.

Under Tennessee Code Annotated §
8-8-103, a sheriff "shall enter into
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an official bond faithfully to

execute the office of sheriff and
perform its duties and functions
during such person's continuance
therein." The obligations of the
surety and principal are set out in §
8-8-301 of the Tennessee Code
Annotated.

Section 8-8-301 does not create
liability. In Waters v. Bates, 227 F.
Supp. 462 (E.D. Tenn. 1964) this court
held that the official bond of a
sheriff does not create a private
cause of action. The court stated:

The plaintiff has placed
considerable emphasis upon
the sheriff's surety bond
and the statutory definition
of the obligations covered
by the bond as set forth in
T.C.A. 8-1920 [now §
8-8-301], as forming a basis
for imputing to the sheriff
and the surety the
negligence of [defendant] .
However, it is clear that
the official bond of a
sheriff creates no new cause
of action against him and
that his official [*10]
bond binds him no further
than he would be liable
without it
Id. at 465-66; see also Doe v. May,
2004 Tenn. App. LEXIS 407, No.

E2003-1642-COA-R3-CV, 2004 WL 1459402,
at *5 (Tenn. Ct. App. June 29, 2004)
(citing Waters with approval). This
claim against Sheriff Hutchison cannot
stand.

turns to the
against Sheriff

The court now
remaining allegations

Hutchison, which sound in negligence.
Paragraphs 94 through 96 speak in
terms of the Sheriff breaching his
duty as the Sheriff of Knox County and
neglecting to train, supervise, and
discipline his officers. Thus,
plaintiff seeks to hold Sheriff

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Hutchison personally liable for
alleged constitutional injury
by the actions of someone
Supervisory liability standards

employed to analyze the claims.
City of Roseville,
(6th
Claiborne County,
513 (6th Cir.

Liability under §
based

296 F.3d 431,

(citing Doe

Tenn.,
1996)).

Cir. 2002)

1983

on respondeat superior,

the right to control employees.

v. Jefferson County,

668 F.2d 869,

(6th Cir. 1982). Supervisory liability
must be based on "active
unconstitutional behavior"; the
failure to act" is insufficient.
Shehee v. Luttrell, 199 F.3d 295,

(6th Cir. 1999) (citation omitted).
"There must be a direct causal link
between the acts of individual
officers and the supervisory
defendants." Hays, 668 F.2d at 872.
addition, a claim of failure
supervise or properly train

§1983 cannot be based on simple
negligence. Hays, 668 F.2d at
("Simple negligence is insufficient to
support liability of high police
officials and municipalities
inadequate training, supervision,

control of individual officers.").

Id.

[A] failure of a supervisory
official to supervise,
control, or train the
offending individual
officers is not actionable
absent a showing that the
official either encouraged
the specific incident of
misconduct or in some way
directly participated in it.
At a minimum ae plaintiff
must show that the official
at least implicitly
authorized, approved, or
knowingly acquiesced in the
unconstitutional conduct of

the offending officers.

at 874.

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caused
Doe v.

103 F.3d 495,

cannot

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In support of his motion for
summary judgment, Sheriff Hutchison
submits his [*12] affidavit in which
he states as follows: 1) that he never
had any physical contact with the
plaintiff and he was not involved with
the detention and arrest of the
plaintiff; 2) that he has had no
contact with the plaintiff and has
never seen the plaintiff; 3) that he
did not know about any complaint by
the plaintiff until these complaints
were filed; 4) that Deputy Martin has
been trained on the issuance of a
citation in lieu of custodial arrest,

on the lawful use of force, and in
accordance with state training
requirements as to state and
constitutional laws; and 5) that he
has never been made aware of any
use-of-force problems concerning
Deputy Martin. n4 This affidavit has

not been refuted by plaintiff and is
the only evidence in the case.

Hutchison also
states in his affidavit: "My
being sued officially, along with
Knox County, is redundant and
duplicative" and "No individual
actions on my part violated any
rights of the Plaintiff Lane, if

n4 Sheriff

such rights were violated." These
statements are obvious
conclusions of law and not
statements of fact, and they do
nothing to refute the plaintiff's
allegations.

{*13]

Plaintiff has not made out a claim
that Sheriff Hutchison individually
deprived him of a right secured by the
Constitution. There is no showing that
Sheriff Hutchison "either encouraged
the specific incident of misconduct or
in some other way directly
participated in it." The Sheriff's
affidavit demonstrates that he had no
participation in the alleged incident

or the arrest and detention of the
plaintiff. The affidavit also
specifies the training that Deputy

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Martin has received. These
affirmations by Sheriff Hutchison have
not been refuted by the plaintiff.
When faced with a summary judgment
motion, "the nonmoving party may not
rest upon the pleadings but must go
beyond the pleadings and ‘present
affirmative evidence in order to
defeat a properly supported motion for

summary judgment.'" Johnson v. City of
Cincinnati, 119 F. Supp.2d 735, 739
(S.D. Ohio 2000) (quoting Anderson v.
Liberty Lobby, Inc., 477 U.S. 242,
257, 106 S. Ct. 2505, 91 L. Ed. 2d 202
(1986)).

Plaintiff has failed to demonstrate
that Sheriff Hutchison in his
individual capacity "committed a
constitutional violation [lor violated
a clearly established right." Shehee,

199 F.3d at 300. [*14] Because the
facts do not support a claim for a
constitutional violation by Sheriff

Hutchison, the court need not reach

the claim for qualified immunity.

Accordingly, for the reasons stated
herein, the "Motion for Summary
Judgment of Defendant Timothy
Hutchison in His Individual Capacity"
[doc. 11] will granted. An order
reflecting this opinion will be
entered.

Date: 7/8/05

ENTER:

s/ Leon Jordan

United States District Judge

ORDER
For the reasons stated in the
memorandum opinion filed

contemporaneously with this order, the
"Motion for Summary Judgment of

Defendant Timothy Hutchison in His
Individual Capacity" (doc. 11] is
GRANTED. Defendant Timothy Hutchison
in his individual capacity is

DISMISSED from this case.

IT IS SO ORDERED.

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Date: 7/8/05 s/ Leon Jordan

ENTER: United States District Judge

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2 of 3 DOCUMENTS

Oo

Plaintiff-Appellant, v.

HAWKINS COUNTY,

TENNESSEE; HAWKINS COUNTY SHERIFF WAYNE CLEVINGER; HAWKINS

IRA J. HINES, and JEFFREY S.

and other UNKNOWN DEPUTIES and POLICE OFFICERS,

Defendants-Appellees.

96-5025

UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

1997 U.S. App. LEXIS 1875

Analysis
As of: May 23, 2007
JOHNNY LEE TRENT,
COUNTY DEPUTIES BRAD A. DEPEW,
GREER;
No.
January 29,
NOTICE: [*1] NOT RECOMMENDED FOR

FULL-TEXT PUBLICATION. SIXTH CIRCUIT
RULE 24 LIMITS CITATION TO SPECIFIC
SITUATIONS. PLEASE SEE RULE 24 BEFORE
CITING IN A PROCEEDING IN A COURT IN
THE SIXTH CIRCUIT. IF CITED, A COPY
MUST BE SERVED ON OTHER PARTIES AND
THE COURT. THIS NOTICE IS TO BE
PROMINENTLY DISPLAYED IF THIS DECISION
IS REPRODUCED.

SUBSEQUENT HISTORY: Reported in Table

Case Format at: 106 F.3d 402, 1997
U.S. App. LEXIS 26796.

PRIOR HISTORY: ON APPEAL FROM THE
UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF TENNESSEE.
95-00038. Inman (M).

DISPOSITION: AFFIRMED.

CASE SUMMARY:

PROCEDURAL POSTURE: Plaintiff, a
mentally ill individual who had been
shot by a deputy sheriff, appealed an
order of the United States District
Court for the Eastern District of

Case 3:05-cv-00341-RAE-HBG Document 41-1

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Tennessee granting summary judgment to

defendants, the county that employed
the deputy, the sheriff, and two other
deputies. Plaintiff asserted his
claims against the individuals in

their official capacities and the case
was treated as one against the county
alone.

OVERVIEW: Plaintiff was shot when
three deputies arrived at his
residence to take him into custody
pursuant to a committal order.
Plaintiff alleged that the deputies
had been inadequately trained in

handling the mentally ill. The county
filed affidavits averring that each of
the deputies had all of the training
required under state law and that,
although the department handled many
committals every month, there had been
no previous similar incidents. In
response, plaintiff filed an affidavit
from a retired professor asserting
that, under the applicable standard,
plaintiff's injury resulted from a
training deficiency so obvious and so
likely to cause constitutional
violations that a jury could properly
have found deliberate indifference on

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the part of the county. The district
court entered summary judgment for the
county. On appeal, the court affirmed.
The court held that the professor
provided no basis for his conclusions
that a lack of training was the
proximate cause of the shooting or
that a jury could have found the
county deliberately indifferent under
the circumstances. The court concluded
that, standing alone, the professor's
affidavit was insufficient to create
an issue for trial.

OUTCOME: The court affirmed the
summary judgment of the district court
in favor of the county on plaintiff's
civil rights claim based on inadequate
training of the sheriff's deputies in
handling the mentally ill.

JOHNNY
Appellant:
TN.

COUNSEL: For
Plaintiff -
Winstead, Rogersville,

LEE TRENT,
Heiskell H.

For HAWKINS COUNTY, TN, WAYNE
CLEVENGER, Hawkins County Sheriff,
BRAD ALLEN DEPEW, Hawkins County
Deputy, IRA JOHN HINES, Hawkins County
Deputy, JEFFREY SCOTT GREER, Hawkins
County Deputy, Defendant - Appellees:
Thomas J. Garland, Jr., Jeffrey M.
Ward, Milligan & Coleman, Greenville,

TN.

NELSON and DAUGHTREY,
AND COHN, District

Before:
JUDGES,

JUDGES:
CIRCUIT
Judge. *

* The Honorable Avern Cohn,
United States District Judge for
the Eastern District of Michigan,
sitting by designation.

OPINION BY: DAVID A. NELSON

OPINION:
DAVID A. NELSON, Circuit Judge.
This is an appeal from a summary

judgment for the defendants in a civil
rights case brought [*2] by a

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mentally ill person who was shot in
the leg while being taken into custody
by three deputy sheriffs. The county
that employed the officers had given
them no in-depth specialized training
in dealing with the mentally ill --
and the questions on appeal are (1)
whether the need for such training was
so obvious, and the lack of it so

likely to result in constitutional
violations, that a jury could properly
have found the county and its
policymakers guilty of deliberate
indifference to the constitutional
rights of those in the plaintiffs
situation, and (2) if so, whether a
jury could properly have found that

the plaintiffs rights were violated as

a proximate result of the lack of
training. Concluding, upon de novo
review, that neither question can be

answered as the plaintiff would have
us answer it, we shall affirm the
judgment entered by the district
court.

I

On the evening of Sunday,
30, 1994, Ms. Angela Lee Luster, the
daughter of plaintiff Johnny Lee
Trent, went to the Sheriffs Department
of Hawkins County, Tennessee, £o
discuss a problem concerning her
father. According to the complaint
subsequently filed in this case. Ms.
Luster told Sgt. Brad Depew "that [*3]
her father was mentally ill, that he
was a Vietnam Veteran, that he was
acting strangely and that he [might]
be dangerous due to his mental
condition." According to a statement
given by Sgt. Depew on January 31,
1994, Ms. Luster told the Sergeant
"that her dad (Johnny Trent) had been
threatening some guy with a gun and
stated that this was the second time
Trent had done this." The complaint
alleges that Mr. Trent was "extremely
paranoid" and was "suffering from a
bipolar manic condition."

January

After consultation with a deputy
circuit count clerk, Sgt. Depew and
Ms. Luster decided to seek an

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emergency committal to an area mental
hospital. In this connection Ms.
Luster apparently signed an affidavit

requesting that Mr. Trent be taken
into custody for examination by a
physician.

Because of Mr. Trent's previous

problems, Sgt. Depew asked two other
officers -- Corporal Jeffrey S. Greer
and Patrol Officer Ira J. Hines -- to
accompany him to Mr. Trent's house.

Sgt. Depew rode with Corporal Greer in
one cruiser, and Officer Hines took
another vehicle. The three deputies

arrived at the house sometime after 11

p.m. Corporal Geer pulled his cruiser
into the driveway first, followed by
Officer [*4] Hines. Greer left his
headlights on, according to his
statement, so that they illuminated
the north side of the house. Mr.
Trent, according to an affidavit he
executed in October of 1995, was

inside the house "cleaning some guns."

The officers stepped out of their
cruisers and saw Mr. Trent through a

window. Shouting "police" or
"sheriff," they took up positions
around the porch. Mr. Trent came to

his front door carrying a gun pointed

upwards. The officers-shouted at him
to drop the gun, according to their
statements, and Mr. Trent's affidavit

says that he turned to his right to
lay the gun down. At this juncture,
the affidavit continues, "I was shot

by someone in the shadows to my left
whom I had not seen." (The affidavit
also says that "at the time I had been
suffering from extreme amnesia ....")

The statement given by the officer
who fired the shot, Sgt. Depew,
indicates that although Mr. Trent had
been pointing his gun in the air, he
brought it down to about his waist and
pointed it straight at Depew; that
Depew, who could see Trent's finger on
the trigger, told him again to drop
the gun; that Trent did not do so; and
that Depew, "very scared for my life
and the lives of the _ [*5] other
officers," then decided to fire The

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shot hit Mr. Trent in the leg.

Mr. Trent pushed himself back into
the house, according to his affidavit,
and fired five shots into the walls
"to prevent them from shooting me
again." (The affidavit goes on to say
that "I do not believe my thoughts
were completely rational at the time
due to my mental illness.") Mr. Trent
eventually came out of the house with
his hands up, in compliance with
commands shouted by the officers, and
he was taken into custody without
further incident.

Trent
rights

Almost a year later Mr.
instituted the present civil
action against Hawkins County, Sheriff
Wayne Clevinger, and the three
deputies. By consent of the parties
the case was referred to a magistrate
judge for final disposition.

The defendants subsequently filed a

motion for summary judgment,
accompanied by affidavits from Sheriff
Clevinger and Sgt. Depew. Among the

the Clevinger affidavit
these: that the three

all certified law
enforcement officers, hired in
compliance with official standards;
that each deputy was a graduate of the
Tennessee Law Enforcement Academy and
had completed all necessary in-service
training [*6] every year since being
certified; that Tennessee law does not
require that a certified law
enforcement officer be given any
detailed training in how to perform an
emergency committal; that the Sheriffs
Department handles many such
committals every month; that virtually
all committals have been accomplished
without incident, this being the only
one in which a firearm was discharged;

facts to which
attested were
deputies were

and that "there are no prior incidents
which have indicated a need for any
specialized training on emergency
committals."

Attached to the Clevinger affidavit
was a three-page handout entitled
"Handling Abnormal People;" this

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document was said to have been among
the materials used at the Tennessee
Law Enforcement Academy in 1991. Sgt.
Depew, in his affidavit, said that he
recalled having received a similar
handout in 1989. In his deposition,
excerpts from which accompanied Mr.
Trent's brief in opposition to the
summary judgment motion, Sgt. Depew
testified that his training program
involved some discussion of dealing
with mentally ill people, but not a
great deal. He did not recall any
in-depth training on the subject.
Neither of the other deputies,
according to their depositions,
received in-depth training [*7] on
the mentally ill either. Officer
Hines' deposition does refer to
training with regard to Emotionally
Disturbed Persons, but the training
was geared toward officer protection
and survival. Officer Hines was not
taught anything about paranoia, he
testified.

Characterizing the issue in this
case as "whether the lack of specific
or specialized training regarding how
to take a mental ill person into
custody constitutes ‘deliberate
indifference' that amounts to a
deprivation of constitutional rights,"
the district court (Inman, M.J.)
concluded as a matter of law that no
such deliberate indifference could be

shown here. An order was’ entered
granting the motion for summary
judgment and dismissing the action,

and the plaintiff perfected a timely
appeal.

Il

Plaintiff Trent conceded at = an
early stage of the litigation that the
defendant officers had been sued only

in their official capacities. The
district court therefore viewed the
case, properly, as one against the
county alone.

It is undisputed that a county
cannot be heid liable for its
employees! conduct on a respondeat

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superior theory. See Searcy v. City of
Dayton, 38 F.3d 282, 286 (6th Cir.
1994)(in an action [*8] brought

against a municipality under 42-U.S.C.
§ 1983, "the doctrine of respondeat
superior is inapplicable"). To recover
damages from the county for his
injuries, Mr. Trent would have to
prove that "those injuries were the
result of an unconstitutional policy
or custom of the County." Matthews v.

Jones, 35 F.3d 1046, 1049 (6th Cir.
1994).
Where, as here, the existence of an

unconstitutional policy or custom is
sought to be established on the basis

of an alleged deficiency in police
training, liability can be established
"only where the failure to train

amounts to deliberate indifference to
the rights of persons with whom the

police come into contact." City of
Canton v. Harris 489 U.S. 378, 388,
103 L. Ed. 2d 412, 109 S. Ct. 1197
(1989) (emphasis supplied). A rule

that would allow the governmental body

to be held liable for any lesser
degree of fault -- e.g. the more
relaxed rule that our own court
endorsed in the decision reversed by

the Supreme Court in City of Canton --
would be "overly broad." Id. Liability
cannot attach in a case of this type
unless "the need for more or different
training is so obvious, and the
inadequacy so likely to result in the
violation [*9] of constitutional
rights, that the policymakers of the
[governmental body] can reasonably be
said to have been deliberately
indifferent to the need." Id. at 390.
And even where training deficiencies
are so gross as to bespeak deliberate
indifference, there can be no recovery
of damages unless "the inadequacy is
‘closely related to' or ‘actually
caused ' the plaintiff's injury."
Matthews v. Jones, 35 F.3d at 1049
(citations omitted).

In the case at bar the plaintiff
relies on an affidavit executed by Dr.
George Kirkham, a retired professor at
Florida State University School of

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Criminology and Criminal Justice, to
show that the injury did indeed result
from a training deficiency so obvious
and so likely to cause constitutional
violations that a jury could properly
have found "deliberate indifference"
on the part of Hawkins County's
policymakers. We are not persuaded
that Dr. Kirkham's affidavit was
adequate to accomplish this difficult
task.

Dr. Kirkham expressed the opinion
that the procedures employed in taking
Mr. Trent into custody -- procedures
characterized by the affiant as
"highly confrontational and
escalatory" -- violated well
established law enforcement standards
{*10] and were foreseeably dangerous.
The conduct of the three officers was
"reckless," in Dr. Kirkham's view. The
affiant attributed the officers'
conduct to a "failure of the Hawkins
County Sheriffs Department to assure
that its supervisors and line officers
received minimally acceptable training
with respect to both recognizing and

properly reacting to mentally ill
individuals."
The notion that the officers did

what they did in this case because of
any lack of training in "recognizing"
mentally ill individuals is clearly
inconsistent with the record.
Paragraph 6 of the plaintiffs
complaint acknowledges that Angela
Luster told Sgt. Depew in so many
words that her father was mentally ill
and might be dangerous due to his
mental condition. The very reason the
officers were attempting to take Mr.
Trent into custody late on a Sunday
evening was that his daughter had said
she wanted him committed to a mental

hospital on an emergency basis.
Everyone was aware of Mr. Trent's
previous problems, moreover, which is

why no fewer than three officers went
to the house where Mr. Trent was
cleaning his guns. There was obviously
no difficulty in "recognizing" mental
illness here.

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Dr. Kirkham may have [*11] been on
firmer ground in his criticism of the
procedures employed by the officers --
and we take it as given, for summary
judgment purposes, that the procedures
violated established professional
standards. Dr. Kirkham does not
explain the basis for his conclusion
that a lack of acceptable training was
the proximate cause of the officers'
"reckless" conduct, however, and his
affidavit fails to demonstrate that a
need for better training was so
obvious, and the inadequacy of the
training received by the officers so

likely to result in violations of
constitutional rights, that the
policymakers of Hawkins County could
reasonably be said to have been
"deliberately indifferent" to the
need.

From the vantage point of the
policymakers, the somewhat rudimentary
tutelage that Sgt. Depew and other
alumni of the Tennessee Law
Enforcement Academy received in
"Handling Abnormal People" did not

appear to have caused any difficulty'
in the past. It is undisputed that
every month the Sheriffs Department
performed "many" emergency committals
of persons suspected of being mentally
ill -- yet never before had a serious
problem arisen. And so lacking in
"obviousness" was the need for more
intensive training [*12] that no such
training was required by Tennessee
law, nor was it offered by the state
law enforcement academy. If under the
facts presented here, a jury could be
allowed to find the policymakers
guilty of "deliberate indifference" on
the strength of Dr. Kirkham's
affidavit virtually any perceived
deficiency in training could result in
liability in virtually any
excesSive-use-of-force case, it seems
to us. nl Such a broadening of
governmental liability would clearly
be inconsistent with the Supreme
Court's opinion in City of Canton.

nl Even if it could be deemed

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proper to let a jury find Hawkins
County guilty of deliberate
indifference in failing to
require more or better training
in dealing with the mentally ill,
moreover, it is difficult for us
to understand how it could have
been proper to let the jury find
a causal link between the quality

of Sgt. Depew's training and the
injury sustained by Mr. Trent.
Sgt. Depew may have been mistaken

when he concluded that Mr. Trent
was aiming his weapon rather than
laying it down, but no amount of
instruction in dealing with the
mentally ill could possibly
insure that mistakes of this type
will never occur.

[*13]
The decision in Russo v. City of
Cincinnati, 953 F.2d 1036 (6th Cir.
1992) ~- a case that Mr. Trent did not

cite to the district court, but on
which he relies heavily in his brief
on appeal -- does not compel a
contrary conclusion. Although there
are a number of similarities between
that case and this one, we do not
believe that the rationale on which
this court reversed a summary judgment
for the defendants in Russo was so
broad as to necessitate reversal of
the judgment entered by the district
court here.

Russo was a civil rights case
brought by the estate and family of a
Man named Thomas Bubenhofer. Although
diagnosed as a paranoid schizophrenic
by physicians at a psychiatric
institution. Mr. Bubenhofer had been
given a two-hour pass and had gone
home to his apartment with his sister,
Karen Russo. Mr. Bubenhofer told Ms.
Russo that he did not want to return
to the psychiatric institution, and he

eventually locked himself in the
apartment. Three officers who had
heard a police radio broadcast
describing Mr. Bubenhofer as
"Suicidal, homicidal, and a hazard to
police" attempted to take him into

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custody. Although told by Ms. Russo
that Bubenhofer was alone in the
apartment [*14] and did not have a
gun, the officers forced the apartment
door open, stunned Mr. Bubenhofer (who
was holding two butcher knives) with a
series of Taser darts, and shot him a
total of 22 times with their service

revolvers. Mr. Bubenhofer died the
next day.
One of the claims in the ensuing

lawsuit was that Mr. Bubenhofer's
constitutional rights had been
violated as a proximate result of the
defendant city's failure to train its
officers adequately. In support of the
contention that the officers' training
was constitutionally defective, the
plaintiffs offered the testimony of
Dr. George Kirkham -- the same expert
witness whose affidavit is before us

here -- together with an Office of
Municipal Investigation report in
which the city's own investigators
concluded that the training was
inadequate. The district court entered

summary judgment for the city on the
failure-to-train claim, but a divided
panel of this court reversed on the
ground that there was a genuine issue

of material fact. Judge Jones wrote
the lead opinion, Judge Wellford
concurred separately, and Judge

Suhrheinrich dissented.

Focusing primarily on the question

whether the plaintiffs' evidence was
sufficient to suggest [*15]
inadequacies in the city's training

program, the lead opinion rejected an
argument by the city that Dr.
Kirkham's testimony should be
disregarded as conclusory. "Reliance
on expert testimony is particularly
appropriate," the lead opinion stated,
"where, as here, the conclusions rest
directly upon the expert's review of

materials provided by the City
itself." Russo, 953 F.2d at 1047.
Judge Wellford, concurring

separately, pointed out that

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"in order to hold the City

liable, the factfinder would
have to find that the
inadequacy of training was
so likely to result in the
constitutional injury to
mentally ill persons, that
the City's policymakers

could be deemed to be
callous and indifferent to
the need for training in
that area.

kk OO

Plaintiff must carry the
heavy burden of proving the
City's alleged policy of
deliberate indifference and
that the deficiency, if any,
was a proximate cause of the
death." Id. at 1049.

Wellford went on to describe
testimony in which Dr. Kirkham opined
that the officers' ignorance of the
appropriate procedures for "barricaded

Judge

person" situations was linked to
inadequate training -- and Dr.
Kirkham's testimony, Judge Wellford
{*16] indicated, was not in itself
strong enough to defeat the summary
judgment motion. "In my view," Judge
Wellford wrote, "to maintain
plaintiffs' claim against the City,
Plaintiffs must make a stronger
showing than this." Id. (Emphasis

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supplied.) In light of all the
evidence, however, including the
report of the Office of Municipal
Investigation. Judge Wellford opted
"to give plaintiff the benefit of
doubt" on this "close and difficult"

issue. Id.

Judge Wellford's vote in Russ was
the deciding one, Judge Suhrheinrich
having dissented. We take it from his
concurring opinion that Judge Wellford
would have opted to affirm the summary
judgment for the defendants if the
plaintiffs had been unable to point to
any thing more than the testimony of
Dr. Kirkham.

In the case at bar, of course. Dr.
Kirkham's affidavit is essentially all
the plaintiff has. Here there is
nothing comparable to the report of
the Office of Municipal Investigation,
for example. Judge Wellford would
probably characterize the present case
as a close and difficult one too -- a
characterization with which we would
agree -- but the logic of Judge
Wellford's concurrence in Russo, as we
read it, points to [*17] affirmance
of the judgment for the defendants in
the case at bar.

Accordingly, and for essentially
all of the reasons set forth in the
opinion of Magistrate Judge Inman, as
well as the reasons stated herein, the
summary judgment is AFFIRMED.

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